Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19       PageID.46   Page 1 of 16



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

                                          :
JERRY HUDDLESTON, on behalf of            :   CIVIL ACTION
himself and all similarly situated        :
employees,                                :   No.:
                                          :   Hon.
                         Plaintiffs,      :
      v.                                  :
                                          :
SLOAN ENVIRONMENTAL                       :
SERVICES, INC., a Michigan                :
corporation, and ERIC SLOAN, an           :
individual,                               :
                                          :
                         Defendants.      :
                                          :


                   PLAINTIFFS’ COLLECTIVE ACTION
                    COMPLAINT AND JURY DEMAND

      NOW COMES Plaintiff, Jerry Huddleston, by and through his undersigned

attorneys, and for his Collective Action Complaint against Defendants Sloan

Environmental Services, Inc. and Eric Sloan (collectively, “Defendants”), states as

follows:

                               INTRODUCTION

      1.    This is a collective action brought by Plaintiff Huddleston on behalf

of himself and all similarly situated current and/or former hourly employees of

Defendants (collectively “Plaintiffs”) to recover damages for Defendants’ willful
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19        PageID.47   Page 2 of 16



violation of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. (“FLSA”) and

its attendant rules and regulations.

      2.     Defendants willfully violated the FLSA by knowingly suffering or

permitting Plaintiffs to work in excess of 40 hours per week without paying

overtime compensation at a rate of one-and-one-half times the regular rate.

      3.     Defendants knew or should have known their hourly employees are

not exempt under the FLSA and that their employees must be paid at a premium

overtime pay rate of not less than one-and-one-half times the regular rate of pay as

required under the FLSA for all hours worked in excess of forty (40) per week.

      4.     Plaintiffs seek a declaration that their rights were violated, and a

judgment awarding unpaid back wages, liquidated damages, and attorneys’ fees

and costs to make them whole for damages they suffered, and to help ensure

Defendants will not subject future workers to the same illegal conduct in the

future.

      5.     Plaintiff Huddleston brings this action on behalf of himself and all

similarly situated current and former hourly employees who elect to opt into this

action pursuant to the FLSA, 29 U.S.C. § 216(b), to remedy Defendants’ violations

of the wage-and-hour provisions of the FLSA. At the earliest time possible,

Plaintiffs will seek permission to send a Court-authorized notice of this action

pursuant to 29 U.S.C. § 216(b) to all hourly employees who are presently, or have



                                         2
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19       PageID.48   Page 3 of 16



at any time during the three years immediately preceding the filing of this action,

worked for Defendants.

                          JURISDICTION AND VENUE

      6.     This Court has subject-matter jurisdiction over Plaintiffs’ FLSA

claims, pursuant to 28 U.S.C. § 1331, because Plaintiffs’ claims raise a federal

question under 29 U.S.C. § 201, et seq.

      7.     This Court has jurisdiction over this FLSA collective action pursuant

to 29 U.S.C. § 216(b), which provides that suit under the FLSA “may be

maintained against any employer . . . in any Federal or State court of competent

jurisdiction.”

      8.     Defendants’ annual sales exceed $500,000 and Defendants employ

more than two persons, so the FLSA applies in this case on an enterprise basis.

Defendants’ employees engage in interstate commerce; therefore, they are also

covered by the FLSA on an individual basis.

      9.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

the actions and omissions giving rise to the claims pled in this Complaint

substantially occurred in this District.

                                      PARTIES

      10.    Plaintiff, Jerry Huddleston, is a resident of Lincoln Park, Michigan,

and formerly worked for Defendants as an hourly, non-exempt employee. Plaintiff



                                           3
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19        PageID.49    Page 4 of 16



Huddleston’s Consent to Join form is attached hereto as Exhibit A.

      11.   Opt-in Plaintiff Timothy Czekaj (“Plaintiff Czekaj”), is a resident of

Monroe Michigan, and formerly worked for Defendants as an hourly, non-exempt

employee. Plaintiff Czekaj’s Consent to Join form is attached hereto as Exhibit B.

      12.   Defendant Sloan Environmental Services, Inc. (“SES”) is a Michigan

 corporation with its registered agent listed as Eric Sloan and its registered office

 address listed as 25920 Northline Commerce Drive, Taylor, Michigan 48180.

      13.   Defendant Eric Sloan is President and owner of SES and, upon

 information and belief, resides in Monroe County, Michigan.

      14.   Defendants SES and Eric Sloan are “joint employers” within the

meaning of the FLSA, and have, to their mutual financial benefit and competitive

business advantage, harmed Plaintiffs in violation of the FLSA.

                          GENERAL ALLEGATIONS

      15.   Defendants are in the business of providing asbestos, mold, and lead

abatement services.

      16.   According to the SES Facebook Page, the Defendant’s “. . . mission is

to provide [their] employees with an honest and helpful working environment,

where every employee individually and collectively, can dedicate themselves to

providing [their] customers with exceptional workmanship, extraordinary service

and professional integrity. [Their] commitment to this mission will allow Sloan



                                         4
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19               PageID.50   Page 5 of 16



Environmental Services to become not only a premier abatement company, but the

premier abatement company in Southeast Michigan.” 1

       17.    Eric Sloan is the owner and president of SES.

       18.    In this role, he establishes the work schedule, instructs the Plaintiffs

how to perform their duties, and determines how Plaintiffs will be paid.

       19.    In order to provide its services to customers, Defendants have

employed dozens of hourly employees during the past three years.

       20.    Plaintiffs and all other similarly situated individuals were, or are,

employed by Defendants as hourly employees holding positions such as

supervisors and other labor positions.

       21.    Plaintiff Huddleston began working for Defendants in April 2014 as

an hourly supervisor and earned a base rate of pay of $27.50 per hour during the

course of his employment with the Defendants and eventually received a raise to

$28.50 per hour.

       22.    Opt-In Plaintiff Czekaj began working for Defendants as an hourly

employee and earned a base rate of pay of $27.50 per hour during the course of his

employment with the Defendants.

       23.    Plaintiff Huddleston reported directly to Defendant Eric Sloan

regarding all matter related to his employment.

1
 See https://www.facebook.com/pg/Sloan-Environmental-Services-Inc
65509750305919/about/?ref=page_internal (last visited July 29, 2019).


                                              5
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19     PageID.51   Page 6 of 16




         Defendants Failed To Pay Plaintiff Huddleston An Overtime
        Premium Despite Working More Than 40 Hours Per Workweek

      24.    Plaintiff Huddleston’s paystubs, attached hereto as Exhibit C,

demonstrate that he was not paid an overtime premium despite working more than

40 hours in a workweek.

      25.    For example, during the pay period from 9/12/2016-9/25/2016 (pay

date 9/28/2016), Plaintiff Huddleston worked at total of 84 hours, all of which

were paid at his base rate of $27.50 per hour. (Id.).

      26.    During the pay period from 9/26/2016-10/09/2016 (pay date

10/12/2016), Plaintiff Huddleston worked at total of 82 hours, all of which were

paid at his base rate of $27.50 per hour. (Id.).

      27.    During the pay period from 10//24/2016-11/06/2016 (pay date

11/09/2016), Plaintiff Huddleston worked at total of 82 hours, all of which were

paid at his base rate of $27.50 per hour. (Id.).

      28.    During the pay period from 11//21/2016-12/04/2016 (pay date

12/07/2016), Plaintiff Huddleston worked at total of 83 hours, all of which were

paid at his base rate of $27.50 per hour. (Id.).

      29.    Defendants also attempted to evade their overtime obligations by

providing multiple paychecks during the same pay period. For example, Plaintiff

Huddleston’s paystubs show that during the pay period from 1/02/2017-1/15/2017

                                           6
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19      PageID.52    Page 7 of 16



(pay date 1/18/2017), he worked a total of 80 hours, all of which were paid at his

base rate of $27.50 per hour. However, within that same pay period, Plaintiff

Huddleston received a separate check dated 1/18/2017 attached hereto as Exhibit

D, showing that he worked 19 additional hours, all of which was paid at his base

rate of $27.50 per hour (total check amount $522.50).

      30.    Although the examples above are based on 80-hour workweeks, there

is no question that overtime hours were worked (i.e., more than 40 in a workweek).

      31.    The examples shown in Plaintiff Huddleston’s pay records establish

prima facie violations of the FLSA and are clear evidence of the intentional and

willful nature of Defendants’ overtime pay scheme.

        Defendants Failed To Pay Opt-In Plaintiff Czekaj An Overtime
        Premium Despite Working More Than 40 Hours Per Workweek

      32.    Plaintiff Czekaj also suffered from the Defendants’ unlawful pay

practices.

      33.    Plaintiff Czekaj’s paystubs, attached hereto as Exhibit E, also

demonstrate that he was not paid an overtime premium despite working more than

40 hours in a workweek.

      34.    For example, during the pay period from 3/27/2017-04/09/2017 (pay

date 4/12/2017), Plaintiff Czekaj worked at total of 85 hours, all of which were

paid at his base rate of $27.50 per hour. (Id.).

      35.    Defendants also attempted to evade their overtime obligations by

                                           7
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19         PageID.53   Page 8 of 16



providing multiple paychecks during the same pay period. For example, Plaintiff

Czekaj’s paystubs show that during the pay period from 7/31/2017-8/13/2017 (pay

date 8/17/2017), he worked a total of 81 hours, all of which were paid at his base

rate of $27.50 per hour. However, within that same pay period, Plaintiff Czekaj

received a separate check dated 8/17/2017, showing that he worked 8 additional

hours, all of which was paid at his base rate of $27.50 per hour (total check amount

$220). (Id.).

      36.       Plaintiff Czekaj’s paystubs show that during pay date 10/12/2017, he

worked a total of 80 hours, all of which were paid at his base rate of $27.50 per

hour. However, within that same pay period, Plaintiff Czekaj received a separate

check dated 10/12/2017, wherein he worked 5 additional hours, all of which was

paid at his base rate of $27.50 per hour (total check amount $137.50). (Id.).

      37.       Plaintiff Czekaj’s paystubs show that on pay date 11/22/2017, he

worked a total of 80 hours, all of which were paid at his base rate of $27.50 per

hour. However, within that same pay period, Plaintiff Czekaj received a separate

check dated 11/22/2017, wherein he worked 5 additional hours, all of which was

paid at his base rate of $27.50 per hour (total check amount $137.50). (Id.).

      38.       The examples shown in Plaintiff Czekaj’s pay records establish prima

facie violations of the FLSA and are clear evidence of the intentional and willful

nature of Defendants’ overtime pay scheme.



                                           8
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19         PageID.54    Page 9 of 16



                  FLSA COLLECTIVE ACTION ALLEGATIONS

        39.   At all times within the past three years, Defendants failed to pay any

of their hourly employees all overtime due for hours worked in excess of 40 per

week.

        40.   Accordingly, Plaintiff Huddleston brings this action pursuant to 29

U.S.C. § 216(b) of the FLSA on his own behalf and on behalf of:

              All current and former hourly employees who worked for
              Defendants at any time during the last three years.

(hereinafter referred to as the “Collective”). Plaintiffs reserve the right to amend

this definition as necessary.

        41.   Excluded from the proposed Collective are Defendants’ exempt

employees, if any, including executives, administrative and professional

employees, computer professionals, and outside sales persons.

        42.   With respect to the claims set forth in this action, a collective action

under the FLSA is appropriate because the employees described above are

“similarly situated” to Plaintiffs under 29 U.S.C. § 216(b). The employees on

behalf of whom Plaintiff Huddleston brings this collective action are similarly

situated because: (a) they have been or are employed in the same or similar

positions; (b) they were or are subject to the same or similar unlawful practices,

policy, or plan; and (c) their claims are based upon the same or similar factual and

legal theories.

                                          9
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19         PageID.55   Page 10 of 16



      43.    The employment relationships between Defendants and every

Collective member are the same and differ only in name, location, and rate of pay.

The key issues – a policy of failing to pay the required overtime premium – does

not vary from employee to employee.

      44.    The key legal issues are also the same for every Collective member, to

wit: whether the Collective members were paid the required overtime wages due

under the FLSA for hours worked in excess of 40 per week.

      45.    Plaintiffs estimate that the Collective, including both current and

former employees over the relevant period, will include dozens of individuals. The

precise number of individuals should be readily available from a review of

Defendants’ personnel and payroll records.

      46.    Defendants willfully engaged in a pattern of violating the FLSA, as

described in this Complaint in ways including, but not limited to, by routinely

suffering or permitting Plaintiffs and the Collective to work in excess of 40 hours

per week without paying the required overtime premium.

      47.    Defendants’ conduct constitutes a willful violation of FLSA within

the meaning of 29 U.S.C. § 255(a).

      48.    The proposed Collective should be promptly notified of and allowed

to opt-in to this action, pursuant to 29 U.S.C. § 216(b).

      49.    Unless the Court promptly authorizes such a notice to the proposed



                                          10
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19       PageID.56    Page 11 of 16



Collective, the members of which were unlawfully deprived of overtime pay under

the FLSA, the statute of limitations may prevent them from securing unpaid

overtime compensation to which they are entitled, and which has been unlawfully

withheld from them by Defendants.

                                    COUNT I
         VIOLATIONS OF THE FAIR LABOR STANDARDS ACT,
          29 U.S.C. § 201, et seq., FAILURE TO PAY OVERTIME

      50.    Plaintiffs repeat and re-allege the preceding paragraphs as if fully

stated herein.

      51.    At all times relevant to this Complaint, Defendants were joint

“employers” under the FLSA, 29 U.S.C. § 203(d), subject to the provisions of 29

U.S.C. §§ 201, et seq.; 29 C.F.R. § 791.2.

      52.    At all times relevant to this Complaint, Plaintiffs were “employees” of

Defendants within the meaning of the FLSA, 29 U.S.C. § 203(e)(1).

      53.    Plaintiffs either (1) engaged in commerce; or (2) engaged in the

production of goods for commerce; or (3) were employed in an enterprise engaged

in commerce or in the production of goods for commerce.

      54.    Plaintiffs and the proposed Collective members are not exempt from

the FLSA.

      55.    At all times relevant to this Complaint, Defendants “suffered or

permitted” Plaintiffs to work and thus “employed” them within the meaning of the



                                         11
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19      PageID.57    Page 12 of 16



FLSA, 29 U.S.C. § 203(g).

      56.   The FLSA requires an employer to pay employees the federally

 mandated overtime premium rate of one and one-half times their regular rate of

 pay for every hour worked in excess of 40 hours per workweek. 29 U.S.C. § 207.

      57.   Plaintiffs regularly worked over 40 hours per week while employed

 by Defendants.

      58.   Defendants violated the FLSA by failing to pay Plaintiffs overtime

 compensation, at the rate of one and one-half times their regular hourly rate, for

 all hours worked in excess of 40 per workweek.

      59.   Defendants’ violations of the FLSA were willful, with knowledge or

 reckless disregard of the statutory overtime requirements, as demonstrated by

 their failure to pay Plaintiffs an overtime premium for all hours worked in excess

 of 40 per week.

      60.   As a result of the foregoing, Plaintiffs were injured and seek

 appropriate relief against Defendants including back pay, liquidated damages,

 reasonable attorneys’ fees and costs, and all other relief just and appropriate in

 the circumstances.




                                        12
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19        PageID.58    Page 13 of 16



                                    COUNT II

                  VIOLATION OF 29 C.F.R § 516, et seq.
              FAILURE TO MAINTAIN REQUIRED RECORDS

      61.    Plaintiffs re-alleges and incorporates all previous paragraphs herein and

further alleges as follows.

      62.    29 C.F.R § 516.1 subjects “every employer subject to any provisions

of the Fair Labor Standards Act” to maintain employee records.

      63.    The FLSA requires all employers to keep all payroll records and time

records for at least three (3) years (including all basic timecards and daily

starting/stopping times of individual employees). See 29 U.S.C. § 211(c); 29

C.F.R. 516.1, et seq.

      64.    As Plaintiffs’ employer, Defendants were subject to the FLSA’s

recordkeeping requirements.

      65.    Defendants’ obligations were to maintain and preserve payroll or other

records containing, without limitation, the total hours worked by each employee

each workday and total hours worked by each employee each workweek. 29 C.F.R

§ 516.2.

      66.    Upon information and belief, Defendants maintain corporate policies

and/or practices of evading pay for its hourly employees by altering their time

records and pay periods.

      67.    Defendants failed to maintain and preserve accurate timesheets and


                                         13
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19          PageID.59   Page 14 of 16



payroll records as required by 29 C.F.R § 516.2.

      68.    When the employer fails to keep accurate records of the hours worked

by its employees, the rule in Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680,

687-88, 66 S. Ct. 1187, 1192 (1946) is controlling. That rule states:

             [w]here the employer’s records are inaccurate or inadequate . . .
             an employee has carried out his burden if he proves that he has
             in fact performed work for which he was improperly
             compensated and if he produces sufficient evidence to show the
             amount and extent of that work as a matter of just and
             reasonable inference. The burden then shifts to the employer to
             come forward with evidence of the precise amount of work
             performed or with evidence to negative the reasonableness of
             the inference to be drawn from the employee’s evidence. If the
             employer fails to produce such evidence, the court may then
             award damages to the employee, even though the result be only
             approximate.

      69.    The Supreme Court set forth this test to avoid placing a premium on

an employer’s failure to keep proper records in conformity with its statutory duty,

thereby allowing the employer to reap the benefits of the employees’ labors

without proper compensation as required by the FLSA. Where damages are

awarded pursuant to this test, “[t]he employer cannot be heard to complain that the

damages lack the exactness and precision of measurement that would be possible

had he kept records in accordance with . . . the Act.” Id.

      70.    As a result of Defendants’ recordkeeping violations, Plaintiffs seek a

declaratory judgment and order that the Anderson burden-shifting framework

applies in this case, along with all other relief just and appropriate in the

                                          14
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19            PageID.60   Page 15 of 16



circumstances.

                              RELIEF REQUESTED

      WHEREFORE, Plaintiff Huddleston, on behalf of himself and all others

similarly situated, requests an order for relief as follows:

      a.     Conditionally certifying this case as a collective action in accordance
             with 29 U.S.C. § 216(b) with respect to the FLSA overtime claim set
             forth herein (Count I);

      b.     Ordering Defendants to disclose in computer format, or in print if no
             computer readable format is available, the names, addresses, and
             email addresses of all similarly situated individuals, and authorizing
             Plaintiffs to send notice of this action to all those similarly situated
             individuals, including the publishing of notice in a manner that is
             reasonably calculated to apprise the them of their rights by law to join
             and participate in this lawsuit;

      c.     Designating Plaintiff Huddleston as the representative of the FLSA
             collective action and undersigned counsel as counsel for the same;

      d.     Declaring Defendants violated the FLSA, and the Department of
             Labor’s attendant regulations as cited herein, in connection with the
             FLSA recordkeeping provisions (Count II);

      e.     Finding Defendants’ FLSA violations were willful;

      f.     Granting judgment in favor of Plaintiffs and against Defendants and
             awarding Plaintiffs and the Collective members the full amount of
             damages and liquidated damages available by law;

      g.     Awarding reasonable attorneys’ fees and costs incurred by Plaintiffs in
             filing this action as provided by statute; and

      h.     Awarding such other and further relief as this Court deems
             appropriate.




                                           15
Case 4:19-cv-12364-MFL-RSW ECF No. 4 filed 08/21/19      PageID.61     Page 16 of 16



                                JURY DEMAND

      Plaintiff Huddleston, individually and on behalf of all others similarly

situated, by and through his attorneys, hereby demands a trial by jury pursuant to

Rule 38 of the Federal Rules of Civil Procedure and the court rules and statutes

made and provided with respect to the above entitled cause.




Date: August 9, 2019                         Respectfully Submitted,

                                             /s/ Jesse L. Young
                                             Jesse L. Young (P72614)
                                             Thomas J. Cedoz (P82094)
                                             KREIS ENDERLE, P.C.
                                             8225 Moorsbridge, P.O. Box. 4010
                                             Kalamazoo, Michigan 49003-4010
                                             (269) 324-3000 (Tel.)
                                             jyoung@kehb.com
                                             tcedoz@kehb.com




                                        16
